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                                                                                           U.S. BANKRUPTCY COURT
                                                                                         NORTHERN DISTRICT OF TEXAS

                                                                                            ENTERED
                                                                                          TAWANA C. MARSHALL, CLERK
                                                                                            THE DATE OF ENTRY IS
                                                                                           ON THE COURT'S DOCKET




The following constitutes the ruling of the court and has the force and effect therein described.


                                                                      United States Bankruptcy Judge
  Signed December 21, 2010


                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHISN DISTRICT OF TEXAS
                                     DALLAS DIVISION

      IN RE:                                       §      CASE NO. 10-35631
      LARRY G. CAIN                                §      CHAPTER 7 BANKRUPTCY
            Debtor                                 §
      LARRY G. CAIN                                §
            Plaintiff                              §
      VS.                                          §      ADVERSARY NO. 10-3354
                                                   §
      HEARTPLACE, P.A.                             §
          Defendant                                §



           ORDER GRANTING MOTION TO PLAINTIFF’S UNOPPOSED MOTION TO
                 DISMISS ADVERSARY PROCEEDING WITH PREJUDICE

                    The above and foregoing Plaintiff’s Unopposed Motion to Dismiss Adversary

             Proceeding with Prejudice having been presented and duly considered, the Court is of the

             opinion that a hearing on same is not necessary.

                    IT IS THEREFORE ORDERED that said Motion is granted and therefore the

             Clerk is instructed to dismiss this adversary proceeding with prejudice.


                                                 ###End of Order###



      ORDER GRANTING PLAINTIFF’S MOTION TO DISMISS ADVERSARY PROCEEDING WITH PREJUDICE        Page | 1
